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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                            CIVIL ACTION

VERSUS                                                              NO. 12-1924

CITY OF NEW ORLEANS                                                 SECTION: “E” (2)


                                          ORDER
          The Court set an in-court status conference on May 17, 2023, at 2:00 p.m. CST1 to

allow the Monitor to present to the Court regarding the status of implementation of the

Consent Decree and the Monitor’s current observations, findings, and recommendations

in accordance with paragraph 463, including the Monitor’s First Quarterly Report for

2023 and the Monitor’s Public Integrity Bureau Report (“PIB Report”).2

          The Court hereby informs the parties that, at the May 17, 2023 status conference,

the Monitor will present to the Court regarding the Monitor’s First Quarterly Report for

2023 and Sections VII. B, C, and D of the PIB Report.

          The Court will hold an in-court status conference on June 7, 2023 at 2:00

p.m. CST, to allow the Monitor to present to the Court regarding the status of

implementation of the Consent Decree and the Monitor’s current observations, findings,

and recommendations in accordance with paragraph 463 of the Consent Decree.

          The Monitor has now completed the report focusing on the Public Integrity

Bureau’s investigation into Officer Jeffrey Vappie (“PIB Vappie Investigation Report”).

The presentation of Section VII. A of the Monitor’s PIB Report and the Monitor’s PIB

Vappie Investigation Report will be on Wednesday June 7, 2023 at 2:00 p.m. CST.



1   R. Doc. 693.
2   R. Doc. 694.


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       If either party wishes to make a presentation on Section VII. A of the Monitor’s

PIB Report or the Monitor’s PIB Vappie Investigation Report, send a letter to the

Court’s e-file address on or before June 5, 2023. Include who the party proposes will

make the presentation, on what topics, and how long the party anticipates the

presentation will last.

       New Orleans, Louisiana, this 16th day of May, 2023.


                                        ________________________________
                                                  SUSIE MORGAN
                                          UNITED STATES DISTRICT JUDGE




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